Case 18-31137 Doc 22 Filed 03/22/19 Entered 03/25/19 09:47:34 Page1of1

United States Bankruptcy Court
District of Connecticut

 

 

In re:
Anthony William Rich, Jr. Case Number: 18-31137

Chapter: 7
Debtor*

 

ORDER GRANTING AMENDED MOTION TO REOPEN CASE

 

Pursuant to 11 U.S.C. § 350(b) and Federal Rule of Bankruptcy Procedure 5010, Anthony William
Rich, Jr. (the "Movant"), filed an Amended Motion to Reopen the above-referenced case (the "Motion",
ECF No. 19). After notice of hearing, see 11 U.S.C. § 102(1), and in compliance with the Court's
Contested Matter Procedure, it appearing that the relief sought in the Motion should be granted; it is
hereby

ORDERED: The Motion is GRANTED and the case is reopened.

Dated: March 22, 2019 BY THE COURT

Ann M. Nevins
‘United States Bankruptcy Judge
District of Cormectiaut

United States Bankruptcy Court
District of Connecticut

157 Church Street, 18th Floor
New Haven, CT 06510

* For the purposes of this order, "Debtor" means "Debtors" where applicable.
